                                    IN THE UNITED STATES DISTRICT COURT
                                   FOR THE WESTERN DISTRICT OF MISSOURI

       K.C. HOPPS, LTD.,                                  )
                                                          )
                  Plaintiff,                              )       CASE NO. 4:20-CV-437
                                                          )
                  vs.                                     )
                                                          )
       THE CINCINNATI INSURANCE                           )
       COMPANY,                                           )
                                                          )
                  Defendant.                              )

           DEFENDANT'S MOTON IN LIMINE NUMBER 11 TO LIMIT THE TESTIMONY AND
        EVIDENCE OF PLAINTIFF'S EXPERT KEVIN GRUDZIEN TO THE INFORMATION IN ms
                                  MARCH 29, 2021 REPORT

                  COMES NOW Defendant The Cincinnati Insurance Company, through its attorneys, and

        requests this Com1' s order limiting the testimony and evidence of Plaintiffs expert Kevin

        Grudzien to the information in his March 29, 2021 report. In support of its Motion, Defendant

        states:

                        1. During a hearing before the Court on September 15, 2021, Plaintiff indicated an

                           intent that its retained expert, Kevin Grudzien, was supplementing his report in

                           order to add two additional months of claimed business income/interruption

                           damages. This was the first time that Plaintiff disclosed this intention.

        Expert Disclosures and Discovery

                        2. By email dated March 3, 2021, Plaintiff requested Defendant's consent to a joint

                           Motion to Continue expert deadlines by two weeks. See Exhibit 1.

                        3. By email dated March 4, 2021 Plaintiff amended the request such that the extension

                           would be 3 weeks instead of two weeks. See Exhibit 2.

                        4. Defendant consented to both requests.

                        5. Plaintiff provided its expert disclosures and reports on March 29, 2021.

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                    6. Plaintiff's disclosed claimed expert Kevin Grudzien' s report indicated, "We have

                         prepared detailed Business Interruption loss calculations for each of the locations

                         referenced about through December 29, 2020 totaling $1,727,739." See Exhibit 3.

                    7.   Defendant served its expert reports, including those of C.P.A. Dave Schlader, on

                         April 30, 2020.

                    8. Plaintiffs disclosed damages expert, Mr. Grudzien, was deposed on May 29, 2021.

                         He testified as follows:

               Q.        Okay, and what was the period of restoration for this.

               A.        The claim is from March through December 29th of 2020.



               Q.        So do you, at the moment, intend to supplement your opinions as contained in

                         Exhibit 1 [Mr. Grudzien's report]?

               A.        I think the intention will be yes. My intention is that we will be updating or

                         supplementing our report. We have not been asked to do that yet.

               Q.        How so?

               A.        So I would say that when we prepared this report, it went through the time period

                         based upon the date that we had available to us. So we've discussed whether, you

                         know, there are continuing COVID losses and that, at some point in time, there will

                         be the opportunity to supplement the report.

               Q.        When you say we have discussed, who is we?

               A.        Would be us at Pyxis [Mr. Grudzien's firm], likely me and Dan, Lizzie with Matt

                         and possibly the Stueve folks.

               MR. LYTLE: I'm going to counsel the witness at this point not to disclose, unless it goes



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                      to assumptions, facts, data that you relied on. Do not disclose the content of

                      communications with counsel.

               MR. BROWN: Here is the problem is that the deadlines fall past in this case. We're almost

                      at the close of discovery and he's saying he's going to update his opinions?

               MR. LYTLE: We can talk off the record, Mike.

               MR. BROWN: Can we?

               MR. LYTLE: I'm happy to have a discussion and I'm happy to talk to you about that. I'm

                      going to counsel the Witness at this point not to disclose conversations he may have

                      had with Counsel unless they involve assumptions, data or facts that he relied upon

                      in forming his opinions.

               MR. BROWN: Let's go off the record for a second.

                      (Whereupon, a discussion was had off the record.) (Whereupon, a break was taken,

               after which the following proceedings were had:)

               MR. BROWN: If you're okay, I'll just ask the question and we can get the testimony in?

               THE WITNESS: Sure.

        BY MR. BROWN:

               Q.     We took a short break and it's my understanding now that you have no present

                      intent to supplement or modify your report as contained in Exhibit 1; is that correct?

               A.     That is correct.



               Q.     Do you intend to express any opinions at trial that we have not discussed today and

                      are not contained in your report?

               A.     Not that I'm aware of.



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                Q.         And nobody else would be aware of whether or not you intended to do that, right?

                A.         Correct.



        Exhibit 4, Deposition of Kevin Grudzien, p. 89, l. 2 - p. 90, l. 24; p. 143, l. 23 - p. 144, l. 1; p.

        225, 11. 2-8.

        Plaintiff failed to timely supplement Expert reports

                     9. Plaintiff had sufficient information by at least May 7, 2021 to supplement its expert

                           disclosure, should Plaintiff have so desired, to include any claimed business

                           interruption for January and February, 2021.

                     10. Plaintiff did not provide rebuttal expert reports by the deadline of May 21, 2020.

                     11. By email dated August 30, 2021, Defendant requested that Plaintiff supplement

                           interrogatory responses. They have not been supplemented.

                     12. Defendant's first knowledge of Plaintiffs plan to supplement its damages expert's

                           opinions was during oral arguments in Court on September 15, 2021.

                        13. This afternoon (September 17, 2021), at 2:28 p.m., after Defendant inquired

                           concerning Plaintiffs statement that it was going to serve a supplemental expert

                           disclosure, Defendant received a supplemental report. Exhibits 5 and 6.

        Federal Rules clearly prohibit expert disclosure after pretrial disclosures have been made.

                        14. Federal Rule 26(e)(2) establishes when expert reports may be supplemented and

                           requires that "Any additions or changes to this information must be disclosed by

                           the time the party's pretrial disclosures under Rule 26(a)(3) are due." (emphasis

                           added).

                        15. Pursuant to the Court's Amended Order, and Rule 26(a)(3) Defendant filed



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                     deposition designations on September 9, 2021.

                  16. "Expert witnesses may testify only as to matters contained in the report required by

                     Rule 26(a)(2)(B), unless leave of Court is granted upon good cause shown." The

                     Court's October 13, 2020 Scheduling and Trial Order for Jury Trial, ECF No. 39,

                     p. 6(c).

                  17. Pursuant to the Court's Amended Order, and Rule 26(a)(3) Defendant filed

                     deposition counter-designations, witness lists, objections to Plaintiffs deposition

                     designations and Motions in Limine on September 13, 2021.

        Federal common law favors excluding any testimony or evidence concerning Plaintiff's
        claimed damages, that is not contained in Mr. Grudzien 's report.

                  18. When a party fails to timely identify expert opinions in compliance with Rule 26(a)

                     or (e ), the district court has wide discretion to fashion a remedy appropriate for the

                     particular circumstances of the case. Trost v. Trek Bicycle Corp., 162 F.3d 1004,

                     1008 (8th Cir. 1998).

                  19. The district court should exclude the information or testimony unless the party's

                     failure to comply is substantially justified or harmless. Wegener v. Johnson, 527

                     F.3d 687, 692 (8th Cir. 2008) (Supplement expert disclosure 2 ½ weeks prior to

                     trial was prejudicial).

                  20. When fashioning a remedy, the district court should consider:

                         a. The reason for noncompliance;

                         b. The surprise and prejudice to the opposing party;

                         c. The extent to which allowing the information or testimony would disrnpt

                                the order and efficiency of the trial, and

                         d. The importance of the information or testimony. Wegener v. Johnson, 527


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                             F .3d 687, 692 (8th Cir. 2008).

                  21. Plaintiff possessed and produced the balance sheets for January and February, 2021

                     of various K.C. Hopps entities to Defendant on May 7, 2021. Nonetheless, during

                     Mr. Grudzien's May 29, 2021 deposition, he did not have balance sheets containing

                     any 2021 financial information. The information provided to him ended with

                     financial information ending on December 29, 2021.

                  22. Plaintiff offered no explanation, and when defendant attempted to question Mr.

                     Grudzien on any intent to supplement his report, he was instructed "not to disclose

                     conversations he may have had with Counsel unless they involve assumptions, data

                     or facts that he relied upon in forming his opinions. " That quickly changed into

                     sworn testimony that there was no intention to supplement the report.

                  23. If supplementation were important to Plaintiff to avoid prejudice, Plaintiff should

                     have supplemented Mr. Grudzien's report prior to the close of discovery, or at least

                     prior to the deadline to file Daubert Motions and Dispositive Motions.

                  24. Waiting until this late date to supplement an expert opinion would give Plaintiff a

                     strategic advantage. Such a strategy is not allowed. Courts disfavor 'lying in the

                     weeds' in anticipation of an ambush. U.S. v. Calvert, 523 F.2d 895, 912 (8th Cir.

                     (Mo) 1975).

                  25. Defendant would be prejudiced. Having to spend time on this Motion as opposed

                     to preparing for trial is prejudicial.

                  26. Defendant has prepared and filed deposition designations, objections to plaintiff's

                     deposition designations, and counter-designations. Defendant has prepared and

                     filed its witness lists and Motions in Limine. Significant other filings are due on



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                      Monday, September 20, 2021 and Tuesday, September 21, 2021. The pretrial

                      conference is scheduled for September 24, 2021.

                   27. Defendant's Motion for Summary Judgment has been fully briefed and argued. In

                      fact, it was during oral arguments in opposition to Defendant's Motion for

                      Summary Judgment that Plaintiff first indicated an intent to supplement Mr.

                      Grudzien' s opinions.

               WHEREFORE, The Cincinnati Insurance Company requests this Court to issue an Order

        in Limine limiting the testimony and evidence of Plaintiffs expert Kevin Grudzien, and Plaintiffs

        claimed damages to the information in Mr. Grudzien's March 29, 2021 report and for such other

        relief as the Court deems appropriate.

                                                    WALLACE SAUNDERS

                                                    BY: Isl      Michael L. Brown
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                                                    Kelvin J. Fisher    KS#22014
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                                                     CINCINNATI INSURANCE COMPANY

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        CERTIFICATE OF SERVICE
        I hereby certify that on September 17, 2021, I
        electronically filed the foregoing document with the
        Clerk of the Court using the CM/ECF system which will
        send a notice of electronic filing to:

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        Matthew W. Lytle
        Joseph M. Feierabend
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        Kansas City, MO 64111
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        Patrick J. Stueve
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         Isl  Michael L. Brown
        For the Firm




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Michael L. Brown

From:                            Matthew W. Lytle <Ml ytle@millerschirger.com>
Sent:                            Wednesday, March 03, 2021 5:38 PM
To:                              Michael L. Brown
Cc:                              John J. Schirger
Subject:                         KC Hopps v. Cincinnati - Deadline Extensions


Mike:

Thanks for your time on the phone just now. As we discussed, due to some unforeseen medical circumstances
involving my partner John Schirger and our client representative , we are requesting a modest two week
extension of the following deadlines:

                    Deadline                                    From                              To
  Plaintiff's Expert Trial Witness                        March 8, 2021                   March 22, 2021
  Disclosures
  Defendant's Expert Trial Witness                       March 29, 2021                    April 12, 2021
  Disclosures
  Rebuttal Witnesses                                      April 19, 2021                    May 3, 2021
  Pretrial Discovery Complete                              May 3, 2021                     May 17, 2021
 Daubert I Dispositive Motions                            May 20, 2021                     June 3, 2021

The requested extensions will not impact any other deadlines in the schedule. Please let me know as soon as
possible if Cincinnati will agree to the requested extensions so we can prepare a motion to amend the
scheduling order accordingly. Thanks, Mike.

Matthew W. Lytle


M~iller I Schirgeruc
4520 Main St., Ste. 1570
Kansas City, MO 6411 1
816.561 .6510 (Direct)
816.419.2249 (Mobile)
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Michael L. Brown

From:                       Matthew W. Lytle <MLytle@millerschirger.com>
Sent:                       Thursday, March 04, 2021 6:05 PM
To:                         Michael L. Brown
Cc:                         John J. Schirger
Subject:                    RE: KC Hopps v. Cincinnati - Deadline Extensions


Thanks, Mike. We've had some further discussion on our end and, out of an abundance of caution, would like
to move for a three week extension, as opposed to two. The new deadlines would be as follows:

 Deadline                                   From                     To
 Plaintiff's Expert Trial Witness           March 8, 2021            March 29, 2021
 Disclosures
 Defendant's Expert Trial Witness           March 29, 2021           April 19, 2021
 Disclosures
 Rebuttal Witnesses                        April 19, 2021            May 10, 2021
 Pretrial Discovery Complete                May 3, 2021              May 24, 2021
 Daubert I Dispositive Motions              May 20, 2021             June 10, 2021

The further extension would still not impact any other deadlines in the scheduling order. Please let me know as
soon as possible if Cincinnati will agree to the extra week, and I'll put together a joint motion to
modify. Thanks, Mike.

Matthew W. Lytle


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From: Michael L. Brow n <mbrow n@wallacesaunders.com>
Sent: Thursday, March 4, 20211:29 PM
To: Matthew W. Lytle <MLytle@millerschirger.com>
Cc: John J. Schirger <JSchirger@millersch irger.com>
Subject: RE: KC Hopps v. Cincinnati - Deadline Extensions

No objection Matt.


@
MICHAEL L. BROWN
Wallace Saunders I Attorneys at Law
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10111 West 87th Street I Overland Park, KS 66212
                                                                                           EXHIBIT
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wallacesaunders.com

Susan Davis I Secretary
913.752.5522 I sbowling@wallacesaunders.com

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         2019

From: Matthew W . Lytle <MLytle@millerschirger. com>
Sent: Wednesday, March 03, 2021 5:38 PM
To: Michael L. Brown <mbrown@wa llacesa unders.com>
Cc: John J. Schirger <JSchirger@millerschirger.com>
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 Rebuttal Witnesses                                       April 19, 2021                   May 3, 2021
 Pretrial Discovery Complete                               May 3, 2021                     May 17, 2021
 Daubert I Dispositive Motions                            May 20, 2021                     June 3, 2021

The requested extensions will not impact any other deadlines in the schedule. Please let me know as soon as
possible if Cincinnati will agree to the requested extensions so we can prepare a motion to amend the
scheduling order accordingly. Thanks, Mike.

Matthew W. Lytle


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                           EXPERT WITNESS REPORT

                                       of

                               Kevin M. Grudzien




           K.C. Hopps, LTD. v. The Cincinnati Insurance Company, Inc.

                       In the United States District Court
                      For the Western District of Missouri

                          Case No. 4:20-cv-00437-SRB




                                 Prepared by:

                              Kevin M. Grudzien
                              Managing Director
                               Pyxis Group, LLC

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Introduction / Engagement

My name is Kevin Michael Grudzien, and I am the Managing Director of Pyxis Group, LLC. We

have been retained to perform a forensic accounting review and calculation of Business

Interruption losses incurred by K.C. Hopps, LTD. (KC Hopps) as a result of "severe acute

respiratory syndrome coronavirus 2" or "SARS-CoV2," more commonly known and abbreviated,

including for this report, as "COVID-19."



My Background

Pyxis Group, LLC is a forensic accounting and consulting firm primarly focused on the calculation

and measurement of business interruption losses and guiding policyholders through the

insurance claim process. Our business address is 905 Joliet Street, #310, Oyer, IN 46311. I have

a Bachelor of Arts degree in Accounting from Upper Iowa University in Fayette, Iowa. I started

in my field on January 2, 1996, and have been dedicated full-time to the industry ever since.

Over these 25 plus years, I estimate that I have analyzed thousands of businesses in numerous

industries in the capacity described above. This includes the review of many companies in the

restaurant industry. A full version of my curriculum vitae is included as Exhibit 1 to this report,

which outlines all of my publications, speaking experience, and expert testimony. I am being

compensated at an hourly rate of $265 for my work connected with this matter. My

compensation is not contingent on the outcome of this litigation.




Our typical engagement requires a detailed review of an entities' various financial

documentation and other non-quantitative information. Our forensic review of this



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documentation and information is used to establish the financial performance of a business,

absent a loss incident. The typical financial information review includes but is not limited to

monthly income statements, payroll reports, balance sheets, sales data, relevant market data,

budgets, forecasts, customer-specific data, orders, production, inventory records, tax returns,

cost reports, general ledger details, expense invoices, etc.




While most of the financial data we review are similar between engagements, the non-

quantitative data we incorporate into our analysis can vary significantly. Some examples of

information we consider are significant changes in ownership, changes in key positions, new

customers, lost customers, operational challenges, expansions, acquisitions, competition, etc.

In addition, there is a need to understand or "learn the business" and the companies' relative

industry or market as best possible. We obtain an understanding of a businesses' operational

details, and this basic level of understanding helps reach reasonable and accurate opinions.




All of this documentation and information, along with our experience, allows us to arrive at our

conclusions. These conclusions reasonably assess how a loss incident impacted a business. The

same review has been applied to KC Hopps for purposes of this engagement to arrive at a

reasonable degree of certainty typically expected of a forensic accounting review for insurance

claim purposes.




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Summary of Opinions

Our opinions are based on the information provided and reviewed to date. This information is

listed in the "Documentation Reviewed" section at the end of this report. Based upon our

review of the available information, it is my opinion that as of December 29, 2020, KC Hopps

suffered Business Interruption losses totaling $1,727,739 as a result of COVID-19.




KC Hopps Background

The insured owns and operates several restaurants, catering, and foodservice locations in the

Kansas City Metropolitan area, including the following:

   •     O'Dowd's, LLC, a Missouri limited liability company, O'Dowd's Gastrobar, 4742

         Pennsylvania Avenue, Kansas City, MO 64112;

   •     Briarcliff Events, LLC, a Missouri limited liability company, The View at Briarcliff Event

        Space, 4000 N Mulberry Drive, Kansas City, MO 64116;

   •    Arena Promotions, LLC, a Missouri limited liability company providing food, beverage,

         and catering services at Hy-Vee Arena, 1800 Genessee Street, Kansas City, MO 64102;

   •    Southeast KC Restaurant Co., LLC, a Missouri limited liability company, Blue Moose Bar

         & Grill, Red Bridge, 11134 Holmes Road, Kansas City, MO 64131;

   •     Blue Moose, LLC, a Kansas limited liability company, d/b/a Blue Moose Bar & Grill,

         Prairie Village, 4160 W 71st Street, Prairie Village, KS 66208;

   •     Barley's Brewhaus, LLC, a Kansas limited liability company, d/b/a Barley's Brewhaus,

         16649 Midland Drive, Shawnee, KS 66217;




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   •     Falcon Ridge Restaurant, LLC, a Kansas limited liability company, d/b/a Blue Moose Bar

         & Grill, Lenexa, 10064 Woodland Road, Lenexa, KS 66220;

   •     Hopps Catering, LLC, a Kansas limited liability company, d/b/a Relish Classic Catering and

         Moose Truck food truck, 9112 Cody Street, Overland Park, KS 66214; and

   •     Pan Fried 2, LLC, a Kansas limited liability company, d/b/a Stroud's Overland Park, 8301

         W 135th Street, Overland Park, KS 66223.

These locations are listed in the policy, and each has separate financial statements. Most of the

insured's locations are traditional family "sitdown" restaurants unless indicated below.

Additional information about each location can be found on the insured's website at

www.kchopps.com.

   •    The View At Briarcliff - This is event space rented by the insured located in the

         Courtyard by Marriott hotel. The facility is available to host special events and can

         accommodate guests ranging from 5 to 500. Additional information can be found on

         the insured's website at www.theviewatbriarcliff.com.

   •     Hopps Catering- The insured offers several catering options, which can be found on the

         insured' s website at www .kchopps.com/hopps-catering/

   •     Arena - The insured operates a food service counter in the Hy-Vee Arena located in

         Kansas City, Missouri.

   •     Management-This location represents the insured's corporate overhead costs. Also,

         note that there is a management fee allocated to the individual locations, which is

         reflected as revenue on this location's income statement.




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Basis for Opinions

As previously indicated, our opinions are based upon our review of the documentation

provided to date, discussions with the insured, and our experience. We have prepared detailed

Business Interruption loss calculations for each of the locations referenced above through

December 29, 2020, totaling $1,727,739. A summary of the calculated Business Interruption

losses can be found on Exhibit B. It is important to note that the insured operates on a 13-

period fiscal year.




On Exhibit B, you will find a reference to Exhibits B1 through B10, which coincide with a

separate detailed Business Interruption calculation for each location. Within each of these

detailed calculations, you will find a "Summary," which summarizes the calculated lost revenue

and non-continuing expenses for the location through December 29, 2020.




"Schedule 1" represents a more detailed summary of the calculated losses through December

29, 2020. This schedule summarizes our calculations in total for the period at the individual

general ledger account level. Within the sub-tabs (Schedules 1A through 1K), you will find the

details of our calculation by each individual period. In particular, these schedules outline our

"Method of Projection" for each general ledger account but-for the COVID-19 impact. All other

assumptions, base periods, and footnotes are clearly outlined within these schedules. Note

that the methodologies may vary by location and within the individual months, depending on

the account's nature and impact.




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Also, our calculation of lost sales can be found on Schedule 2 and subsequent Schedule 2 series

of tabs/sub-schedules. Note that while our methodologies are similar by location, the

assumptions, trends, and projections vary. We have considered the unique nature of each

location's situation, micro-market, and trends.




Lastly, each of the Exhibits Bl through B10 includes a Schedule 3, which is the insured's detailed

periodic income statements. These income statements are a significant basis of our

calculations and analysis.




Documentation Reviewed:

   •    Periodic Profit and Loss Statements for KC Hopps Arena Promotions, LLC - January 2019

        to December 2020

   •    Periodic Profit and Loss Statements for KC Hopps Barley's Brewhaus, LLC-January 2018

        to December 2020

   •    Periodic Profit and Loss Statements for KC Hopps Blue Moose Falcon Ridge - January

        2018 to December 2020

   •    Periodic Profit and Loss Statements for KC Hopps Blue Moose Prairie Village - January

        2018 to December 2020

   •     Periodic Profit and Loss Statements for KC Hopps Blue Moose Red Bridge - January 2018

        to December 2020

   •     Periodic Profit and Loss Statements for KC Hopps Briarcliff Events, LLC - January 2018 to

         December 2020


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   •    Periodic Profit and Loss Statements for KC Hopps Hopps Catering, LLC - January 2018 to

        December 2020

   •    Periodic Profit and Loss Statements for KC Hopps Hopps Management, LLC- January

        2018 to December 2020

   •    Periodic Profit and Loss Statements for KC Hopps O'Dowd's, LLC-January 2018 to

        December 2020

   •    Periodic Profit and Loss Statements for KC Hopps Stroud's 135th Street -January 2018 to

        December 2020

   •    Periodic Budget for KC Hopps Arena Promotions, LLC - 2020

   •    Daily Net Sales Detail with Covers for KC Hopps - January 2018 to March 3, 2021

   •    US Foods Master Distribution Agreement - March 16, 2020

   •    US Foods - Amendment to the Master Disbribution Agreement - October 12, 2020

   •     US Foods -Amendment to the Master Disbribution Agreement-August 17, 2020




Signed March 29, 2021




  b Gt-'.-----
Kevin M. Grudzien




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  1                     IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MISSOURI
  2                               EASTERN DIVISION

  3

  4          K.C. HOPPS, LTD.   I                        )
                                                         )
  5                     Plaintiff,                       )
                                                         )
  6              -vs-                                    )   No. 20 CV 00437
                                                         )
  7          THE CINCINNATI INSURANCE                    )
             COMPANY, INC.,                              )
  8                                                      )
                        Defendant.                       )
  9                                                      )

 10

 11

 12                     The deposition of KEVIN GRUDZIEN, called by

 13          the Defendant for examination, pursuant to notice and

 14          pursuant to the Federal Rules of Civil Procedure for

 15          the United States District Courts pertaining to the

 16          taking of depositions, taken before Linda A. Barger,

 17          Certified Shorthand Reporter within and for the County

 18          of Cook and State of Illinois, at 303 West Madison

 19          Street, Chicago, Illinois, commencing at the hour of

 20          9:22 a.m. on the 27th day of May, A.D., 2021.
 21

 22

 23

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  1           A.    Not at the moment.
  2            Q.   So do you, at the moment, intend to
  3       supplement your opinions as contained in Exhibit 1?
  4           A.     I think the intention will be yes.        My
  5       intention is that we will be updating or supplementing
  6       our report.    We have not been asked to do that yet.
  7           Q.    How so?
  8           A.    So I would say that when we prepared this
  9       report, it went through the time period based upon the
10        data that we had available to us.        So we've discussed
11        whether, you know, there are continuing COVID losses
12        and that, at some point in time, there will be the
13        opportunity to supplement the report.
14            Q.    When you say we have discussed, who is we?
15            A.    Would be us at Pyxis, likely me and Dan,
16        Lizzie with Matt and possibly the Stueve folks.
17                  MR. LYTLE:     I'm going to counsel the witness
18        at this point to not disclose, unless it goes to
19        assumptions, facts, data that you relied on.          Do not
20        disclose the content of communications with Counsel.
21                  MR. BROWN:     Here is the problem is that the
22        deadlines fall past in this case.        We're almost at the
23        close of discovery and he's saying he's going to
24        update his opinions?
25                  MR. LYTLE:     We can talk about it off the

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  1       record, Mike.
  2                 MR. BROWN:     Can we?
  3                 MR. LYTLE:     I'm happy to have a discussion
  4       and I'm happy to talk to you about that.         I'm going to
  5       counsel the Witness at this point not to disclose
  6       conversations he may have had with Counsel unless they
  7       involve assumptions, data or facts that he relied upon
  8       in forming his opinions.
  9                 MR. BROWN:     Let's go off the record for a
 10       second.
 11                              (Whereupon, a discussion was
 12                              had off the record.)
 13                              (Whereupon, a break was taken,
 14                              after which the following
 15                              proceedings were had:)
 16                 MR. BROWN:     If you're okay, I'll just ask the
 17       question and we can get the testimony in?
 18                 THE WITNESS:      Sure.
 19       BY MR. BROWN:
 20           Q.    We took a short break and it's my
 21       understanding now that you have no present intent to
 22       supplement or modify your report as contained in
 23       Exhibit 1; is that correct?
 24           A.    That is correct.
 25           Q.    All right.     Just as an estimate prior to this

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  1       BY MR. BROWN:
  2           Q.      What did your organization mean when they say
  3       they wanted to look through and find possible errors
  4       in overstated expenses not historically but going
  5       forward?
  6           A.      I believe what that intention means is that
  7       the period three going forward, a period of loss, to
  8       review their actual expenses in them -- in the lost
  9       period.
 10           Q.      So if I look through here -- so that is tab
 11       B4, correct?
 12           A.      Blue Moose, yes.
 13           Q.      One of the categories on the first page is
 14       non-continuing expenses, correct?
 15           A.      Correct.
 16           Q.      And what that means by non-continuing
 17       expenses is expenses they saved; they didn't have to
 18       pay otherwise what they would have, fair?
 19                   MR. LYTLE:      Object to form.
 20                   THE WITNESS:       Correct, in the context of
 21       would have stayed during the period of restoration.
 22       BY MR. BROWN:
 23           Q.      Okay.   And what was the period of restoration
 24       for this?
 25           A.      The claim is from March through December 29th

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  1          of 2020.
  2              Q.     That's the dates you were given as the period
  3          of restoration, right?
  4                     MR. LYTLE:     Object to the form.
  5                     THE WITNESS:     That is the date that we
  6          measured our calculation through.
  7          BY MR. BROWN:
  8              Q.     And I take it you were there and somebody
  9          told you that day; is that right?
 10                     MR. LYTLE:     Object to the form.
 11                     THE WITNESS:     I don't believe that's the
 12          case.
 13          BY MR. BROWN:
 14              Q.     Okay.   What is a period of restoration?      What
 15          is your understanding of a period of restoration?
 16                     MR. LYTLE:     Object to the form.
 17                     THE WITNESS:     That is a term that is usually
 18          defined in most insurance policies and usually there
 19          is a specific definition within each and can vary
 20          slightly between the various policies.
 21          BY MR. BROWN:
 22              Q.     Is that something you need to know in making
 23          your determination as to what is the business
 24          interruption during the period of restoration?
 25              A.     Of course.

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 BY MR. BROWN:

       Q.    Do you intend to express any opinions at

 trial that we have not discussed today and are not
 contained in your report?

      A.     Not that I'm aware of.

       Q.    And nobody else would be aware of whether or
 not you intended to do that, right?

      A.     Correct.

       Q.    All right.    Well, I just have a few more
 wrap-up questions.       Told the truth today?

      A.     I did.

       Q.    You didn't provide answers to any questions

 you didn't understand?

      A.     That's correct.

             MR. BROWN:    That's all the questions I have.
 How do you want to handle the record on this?

             MR. LYTLE:    Signature is reserved.

             MR. BROWN:    I would like a dirty copy as

 quickly as possible.
             THE COURT REPORTER:         Would you like a copy,
 Mr. Lytle?

             MR. LYTLE:    Yes.     I don't need the rough.

                          (Witness excused at 4:45 p.m.)




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Michael L. Brown

From:                       Michael L. Brown
Sent:                       Friday, September 17, 202111 :16 AM
To:                         'Matthew W. Lytle'; Hammett, Ericka
Cc:                         mcclellan_stuevesiegel.com; tricia_lelaw.com; Kent Emison; rlombardo_sls-law.com;
                            dparsons_sls-law.com; Joe Feierabend; Litchfield, Daniel; John J. Schirger;
                            stueve_stuevesiegel.com; wilders_stuevesiegel.com; brett_lelaw.com; Todd McGuire
Subject:                    RE: K.C. Hopps v. Cincinnati - Goodman Trial Deposition


Dear Matt:

During oral arguments Wednesday, Plaintiff stated an intent that Mr. Grudzien was going to
supplement his opinions. Is this indeed the case.,.? If so, do you object to leave for us to file an
additional Motion in Limine out of time concerning the same? The timing of this is driven by the
fact that the issue was first raised during Wednesday's argument. Please let us know
today. Thanks, Mike




MICHAEL L. BROWN
Wallace Saunders   I Attorneys at Law
913.752.5588 I mbrown@wallacesaunders.com
10111 West 87th Street I Overland Park, KS 66212
Phone 913.888. 1000 I Fax 913.888.1065
wallacesaunders.com

Susan Davis   I Secretary
913 . 752.5522 I sbowling@wallacesaunders.com




From: Matthew W. Lytle <MLytle@millerschirger.com>
Sent: Thursday, September 16, 202112:02 PM
To: Hammett, Ericka <hammett@litchfieldcavo.com>
Cc: Michael L. Brown <mbrown@wallacesaunders.com>; mcclellan_stuevesiegel.com<mcclellan@stuevesiegel.com>;
tricia_lelaw.com <tricia@lelaw.com>; Kent Emison <kent@lelaw.com>; rlombardo_sls-law.com <rlombardo@sls-
law.com>; dparsons_sls-law.com <dparsons@sls-law.com>; Joe Feierabend <JFeierabend@millerschirger.com>;
Litchfield, Daniel <litchfield@litchfieldcavo.com>; John J. Schirger <JSchirger@millerschirger.com>;
stueve_stuevesiegel.com <stueve@stuevesiegel.com>; wilders_stuevesiegel.com <wilders@stuevesiegel.com>;
brett_lelaw.com <brett@lelaw.com>; Todd McGuire <mcguire@stuevesiegel.com>
Subject: K.C. Hopps v. Cincinnati - Goodman Trial Deposition

Ericka:
                                                                                              EXHIBIT
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Attached is a file stamped copy of the notice for Dr. Goodman's trial deposition. Adam Weaver from Alaris /
Lexitas will be contacting you to talk about logistics related to the remote platform and handling of exhibits.
Please let me know if you have any questions. Thanks.

Matthew W. Lytle

Miller ISchirgeruc
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Kansas City, MO 64111
816.561.6510 (Direct)
816.419.2249 (Mobile)
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Michael L. Brown

From:                                  Michelle Campbell <campbell@stuevesiegel.com>
Sent:                                  Friday, September 17, 2021 2:28 PM
To:                                    litchfield@litchfieldcavo.com; hammett@litchfieldcavo.com; Michael L. Brown
Cc:                                    kemison@langdonemison.com; Abby McClellan; Brad Wilders; brett@lelaw.com; John
                                       Schirger; Joe Feierabend; Matt Lytle; tricia@lelaw.com; Patrick Stueve; rlombardo@sls-
                                       law.com
Subject:                               KC Hopps v. Cincinnati Insurance: Supplemental Expert Report of Kevin Grudzien


Please use the below link to access and download the supplemental report, together with exhibits, of
Kevin Grudzien. Let me know if you encounter any difficulties accessing or downloading. This link wil l
expire in one week from today.

Regards,
Michelle Campbell

https://sshlaw.sharefile.com/d-s456a3422e6994 79099bdaa1122d97273


Michelle R. Campbell
Senior Litigation Paralegal
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and any attachments and notify us immediately. Thank you.




                                                                                                                                           EXHIBIT


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